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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


L. LIN WOOD, JR.,                       )
                                        )
          Plaintiff,                    )
-vs-                                    )
                                        ) Case No. 1-21-cv-01169 TCB
PAULA J. FREDERICK, et al.,             )
                                        )
          Defendants.                   )

        PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION

       Plaintiff respectfully moves the Court under Rule 65(a) of the Federal Rules

of Civil Procedure to enter a preliminary injunction to maintain the status quo and

to enjoin or restrain the Defendants, their attorneys, and all those acting in concert

with them, from taking any further action or imposing any formal disciplinary

sanctions by virtue of the Plaintiff’s refusal to submit to an involuntary mental

evaluation pending a hearing on Plaintiff’s request for preliminary injunctive relief

and the further orders of this Court.

       A preliminary injunction is granted when (1) the plaintiff is likely to succeed

on the merits of his or her claims; (2) the plaintiff would suffer irreparable harm in

the absence of an injunction; (3) the harm suffered by the plaintiff absent an

injunction would exceed the harm that the injunction would cause the defendant; and

(4) an injunction would not disserve the public interest. See Lebron v. Sec’y, Fla.
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Dep’t of Children and Families, 710 F.3d 1202, 1206 (11th Cir. 2013). As set forth

in the Affidavit of L. Lin Wood, and the brief and exhibits filed contemporaneously

with this motion, Plaintiff meets the requirements for a preliminary injunction

ordering relief under 42 U.S.C. § 1983. Specifically, Plaintiff respectfully requests

that the Court enter an order with the following terms:

      1. Defendants, acting in their capacity as members of the State Disciplinary

Board, their attorneys, and all persons acting in concert with them having notice,

shall be and hereby are restrained and enjoined from proceeding with any action in

furtherance of their requirement that the Plaintiff undergo a mental evaluation or

examination;

      2.   Pending the further orders of this Court, Defendants, their attorneys and

those acting in concert with them, are enjoined and restrained from imposing any

disciplinary action or otherwise taking any adverse action against the Plaintiff by

virtue of his failure or refusal to undergo a mental evaluation or examination;

      In support of this motion, the Plaintiff relies on documents filed

contemporaneously herewith which are incorporated herein by reference:

      1.     The Verified Complaint.

      2.     Plaintiff’s Memorandum of Law In Support of Motion For Preliminary
             Injunction;

      3.     Affidavit of L. Lin Wood, Jr.




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4.    Appendix of Exhibits filed in support of Motion for Preliminary
      Injunction.


                          CONCLUSION

The Court should grant a preliminary injunction.



                                      Respectfully submitted,

                                      By: /s/ Larry L. Crain
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                      CERTIFICATE OF COMPLIANCE

      I certify that this document has been prepared in compliance with Local Rule

5.1C using 14-point Times New Roman font.

                                                        /s/ Larry L. Crain

                                                         March 29, 2021


                         CERTIFICATE OF SERVICE

      The undersigned does hereby certify that a true and correct copy of the
foregoing Motion for Preliminary Injunction was served on the following
individual(s) via the Court’s ECF-filing system and via U.S. Mail upon the following
individuals:


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